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   Margarita Hernandez, Kimberly Kennedy,
21 Amandeep Singh, Samah Haider
22 and the class
23
24
25
26
27
28
                                1
     AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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1                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA
2
3    David Garza, Naser Alzer, Kimberly  ) Case No. 2:18-cv-01968-KJM-EFB
4    Kennedy, Amandeep Singh, Samah      )
                                         )
     Haider, on behalf of themselves and of
5    others similarly situated,          )
6                                        )
                       Plaintiffs,       )
7    v.                                  )
8                                        )     AMENDED CLASS ACTION
     Confi-Chek, Inc., a holding company )             COMPLAINT
9    for Peoplefinders.com, Enformion, )        JURY TRIAL DEMANDED
10   Inc., and Advanced Background )
     Checks,                             )
11                                       )
12                     Defendants.       )
                                         )
13                                       )
14                                       )
15
             1.   Plaintiffs David Garza, Naser Alzer, Kimberly Kennedy, Amandeep
16
       Singh, and Samah Haider (hereinafter “Plaintiffs”), individually and on behalf of
17
18     others similarly situated, brings this class action lawsuit against Confi-Chek, Inc.
19
       and        its   subsidiaries      Peoplefinders.com,         Enformion,       Inc.,
20
21     PublicRecordsNOW.com, and Advanced Background Checks (collectively, all

22     of these entities will be referred to as the “Defendants”).
23
                             I.    PRELIMINARY STATEMENT
24
             2.   Plaintiffs David Garza, Naser Alzer, Kimberly Kennedy, Amandeep
25
26     Singh, and Samah Haider, on behalf of themselves and all others similarly situated,

27     complain of Defendants Confi-Chek, Inc., the parent or holding company, and its
28
                                2
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1      following subsidiaries: Peoplefinders.com, Enformium, Inc., and Advanced
2
       Background Checks, Inc.
3
           3.    This is a consumer class action that arises from the Defendants’ willful
4
5      publication and/or sale of consumers’ expunged, expuncted and/or sealed criminal
6
       records in violation of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. (the
7
8      “FCRA”) and Texas Business and Commerce Code §§ 109.001–.007. Plaintiffs

9      bring this action on behalf of consumers throughout the country who have been the
10
       subject of prejudicial, misleading and inaccurate background reports published
11
12     and/or sold by the Defendants and anticipate adding other relevant state-law causes

13     of action, similar to the Texas statute cited, as appropriate. The Defendants adopted
14
       and maintained a policy and practice of failing or refusing to timely update such
15
16     consumers’ criminal record histories to eliminate expunged, expuncted, or sealed

17     cases, thus not accurately reflecting the final disposition.
18
           4.   Despite Defendants’ sale of comprehensive background reports of the type
19
20     that fall squarely within the purview of the FCRA, and despite aggressively

21     marketing themselves – especially through Defendant Enformion – to each and
22
       every category of consumer that concerns the FCRA (i.e., insurance companies,
23
24     collection agencies, real estate companies, and corporate human resource

25     departments, just to name a few), Defendants unilaterally declare on their websites
26
       that the FCRA does not govern them as a matter of law. As a result, Defendants
27
28     seek to wrongfully deprive American consumers of the many rights afforded to
                                3
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1      them by the FCRA, including the right to obtain free copies of reports that
2
       Defendants sell about a consumer, the right to dispute inaccurate information, and
3
       the right to require that the Defendants only report information that adheres to the
4
5      standard of maximum possible accuracy. Additionally, Defendants’ conduct
6
       negatively impacts commerce by improperly gaining a competitive edge over
7
8      companies who go to the time an expense of complying with the law.

9                              II.    JURISDICTION AND VENUE
10
           5.    This Court has subject-matter jurisdiction under 15 U.S.C. § 1681p,
11
12     which allows any FCRA claim to “be brought in any appropriate United States

13     district court, without regard to the amount in controversy .…” Plaintiffs are
14
       bringing claims under the FCRA in this case.
15
16         6.    This Court also has subject-matter jurisdiction under 28 U.S.C. § 1331,

17     which gives federal district courts original jurisdiction of all civil actions arising
18
       under the Constitution, laws, or treaties of the United States. Plaintiffs are bringing
19
20     claims under the FCRA in this case.

21         7.    This Court also has subject-matter jurisdiction under 28 U.S.C. § 1367
22
       for supplemental state-law claims. Plaintiffs also are bringing supplemental Texas
23
24     statutory claims under TEX. BUS. & COM. CODE ANN. §§ 109.001–.007.

25         8.    This Court also has subject-matter jurisdiction under 28 U.S.C. § 1332(a)
26
       as there is complete diversity between the parties and the matter in controversy is
27
28     more than $75,000.
                                4
     AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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1          9.    This Court also has subject-matter jurisdiction under 28 U.S.C. §
2
       1332(d)(2) because this is a class action case where the matter in controversy,
3
       exclusive of interest and costs, exceeds $5 million and a member of a class of
4
5      plaintiffs is a citizen of a state different from any defendant.
6
           10.       This Court has general-and specific-personal jurisdiction over the
7
8      Defendants under California Code of Civil Procedure § 410.10 because they are

9      residents of California,
10
           11.        Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b)
11
12     as the Defendants all are from Sacramento, California.

13                                         III.    PARTIES
14
           12.        Plaintiff David Garza is an adult individual and citizen of the State
15
16     of Texas who resides in Houston, Texas.

17         13.        Plaintiff Naser Alzer is an adult individual and citizen of the State of
18
       Texas who lives in Cedar Park, Texas.
19
20         14.       Plaintiff Kimberly Kennedy is an adult individual and citizen of the

21     State of Texas who resides in Houston, Texas.
22
           15.       Plaintiff Amandeep Singh is an adult individual and citizen of the
23
24     State of Texas who lives in San Antonio, Texas.

25         16.       Plaintiff Samah Haider is an adult individual and citizen of the State
26
       of Texas who lives in Houston, Texas.
27
28
                                5
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1          17.      Defendant Confi-Chek, Inc. is a California corporation with its
2
       principal place of business in Sacramento, California. Defendant Confi-Chek, Inc.
3
       is the parent or holding company for the other named Defendants, and shares office
4
5      space, customer service, personnel, data acquisition and management both with and
6
       across its named subsidiaries.     As such, it provides or controls background
7
8      screening services, decision-making intelligence, public record reports and

9      operates as a consumer reporting agency. Defendant and its subsidiaries regularly
10
       conduct business in the State of Texas, and it operates a principal place of business
11
12     at 1821 Q St. Sacramento, CA 95811-6718, an address shared by all the subsidiary

13     Defendants as well. Defendant and its subsidiaries are a “consumer credit reporting
14
       agency,” as defined by 15 U.S.C. § 1681a(f), regularly engaged in the business of
15
16     assembling, evaluating, and dispersing information concerning consumers for the

17     purpose of furnishing “consumer reports,” as defined in 15 U.S.C. § 1681a(d), to
18
       third parties. Defendant Confi-Chek, Inc. can be served with process by serving its
19
20     agent for the service of process Robert S. Miller at 1821 Q St. Sacramento, CA

21     95811-6718, or wherever he may be found.
22
           18.      Defendant Enformion, Inc. is a California corporation with its
23
24     principal place of business in Sacramento, California. Defendant provides or

25     controls background screening services, decision-making intelligence, public
26
       record reports and operates as a consumer reporting agency. Defendant regularly
27
28     conduct business in the State of Texas, and it operates a principal place of business
                                6
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1      at 1821 Q St. Sacramento, CA 95811-6718. Defendant is a “consumer credit
2
       reporting agency,” as defined by 15 U.S.C. § 1681a(f), and regularly engaged in
3
       the business of assembling, evaluating, and dispersing information concerning
4
5      consumers for the purpose of furnishing “consumer reports,” as defined in 15
6
       U.S.C. § 1681a(d), to third parties. Defendant Enformion, Inc. can be served with
7
8      process by serving its agent for the service of process Robert S. Miller at 1821 Q

9      St. Sacramento, CA 95811-6718, or wherever he may be found.
10
           19.      Defendants Peoplefinders.com, Enformion, Inc., and Advanced
11
12     Background Checks are subsidiary business entities that act as alter egos for Confi-

13     Chek, Inc., and each other, as described above, and they provide background
14
       screening services, decision-making intelligence, public record reports and operate
15
16     as consumer reporting agencies. These subsidiary Defendants all operate a principal

17     place of business at 1821 Q Street Sacramento, CA 95811-6718. The Defendants
18
       are “consumer credit reporting agency,” as defined by 15 U.S.C. § 1681a(f) of the
19
20     Act, regularly engaged in the business of assembling, evaluating, and dispersing

21     information concerning consumers for the purpose of furnishing “consumer
22
       reports,” as defined in § 1681a(d) of the Act, to third parties.        Defendants
23
24     Peoplefinders.com and Advanced Background Checks, can be served with process

25     by serving Confi-Chek, Inc.’s agent for the service of process Robert S. Miller at
26
       1821 Q St. Sacramento, CA 95811-6718, or wherever he may be found.
27
28
                                7
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1            20.    Subject to permission by the Court, Plaintiffs reserve the right to amend
2
         this Complaint to include any additional subsidiaries or affiliates uncovered during
3
         discovery in this case, which appears likely, given the Plaintiffs’ pre-filing
4
5        difficulty in mapping out the Defendants ownership structure, much less
6
         ascertaining whomever else may have purchased, subscribed to, or been given the
7
8        Confi-Chek, Inc., inaccurate database as their source of background information. 1

9                                IV.    FACTUAL ALLEGATIONS
10
             21.      About one in three Americans has a criminal record of some kind.
11
12       Eighty-seven percent of employers, 80 percent of landlords, and 66 percent of

13       colleges screen for criminal records. Background checking has become an
14
         intractable barrier to the fundamental needs of life for huge numbers of people with
15
16       criminal records and has become a significant cause of poverty in this country, a

17       phenomenon known as collateral consequences.
18
19
     1
20     For instance, Defendants Veromi.net, PublicRecordsNOW.com, PrivateEye.com,
     who appeared in Plaintiffs’ Original Complaint have been dropped after repeated
21   representations from opposing counsel and an affidavit from parent-Defendant,
22   Confi-Chek, Inc., that no corporate affiliation, past or present, with the named
     Defendants and these entities exists, and that these former Defendants have never
23   used Confi-Chek’s data as a “white-label” product or service. As all three dropped
24   Defendants surprisingly listed, as of the date of initial filing, Confi-Chek’s corporate
     headquarters as their privacy contact location in their respective online Privacy
25   Policies, Plaintiffs certainly reserve the right to amend should discovery show such
26   relationships did indeed exist (in fact, after suit was filed, two of the three companies
     removed Confi-Chek’s name from said Privacy Policies).
27
28
                                8
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1          22.      To alleviate this burden, most states expanded their expungement or
2
       sealing laws between 2009 and the present. For instance, Texas passed its own such
3
       protective provisions in 2013, which is today codified in Texas Business and
4
5      Commerce Code §§ 109.001–.007. These state laws, of course, provide additional
6
       remedies and protections to those found in the federal Fair Credit Reporting Act
7
8      (15 U.S.C. § 1681 et seq), which has long forbidden the publication and reporting

9      of expunged or sealed records. Despite the efforts of Congress and various state
10
       legislatures, however, the commercial screening industry’s continued publication
11
12     and reporting of expunged cases threatens to undermine the whole strategy of

13     broadening expungement as a remedy for the harm of collateral consequences.
14
           23.      Moreover, the proliferation of background check companies,
15
16     numbering in the hundreds and all charging subscription or access fees, creates

17     insurmountable logistical and financial obstacles to anyone wanting to insure his
18
       or her expunged criminal record was, in fact, removed from publication by the
19
20     universe of online businesses operating in this field. First, someone would need to

21     locate every reporting site, which is practically impossible and, second, pay to join
22
       every site and then negotiate the removal of any wrongful publication of expunged
23
24     or sealed records found, on a site-by-site basis. More difficult still, a number of

25     background reporting companies, such as the Defendants in this case, employ
26
       multiple online “storefronts,” each branded with a different name but all using the
27
28     same employees and database. By this method, they attempt to confuse clients and
                                9
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1      avoid any and all regulation by disclaiming that they are governed by the FCRA at
2
       all. Needless to say, but the only reason not to operate openly as a legitimate,
3
       regulated background reporting company is to save the expense and effort required
4
5      to provide accurate and legally permissible background information. As a result of
6
       this “Wild West” situation in the background screening industry, expunged records
7
8      can be, and are, available for anyone to view for months or even years while,

9      simultaneously, remaining unknown and undiscoverable to the individuals reported
10
       upon.
11
12      A. The Defendants Practice as a Consumer Reporting Agency and Furnisher
           of Consumer Reports for Employment Purposes.
13
14         24.      The Defendants operate background investigation websites that allow

15     users to search for consumers based on several categories, including name, date of
16
       birth, and state of residence. Such reports may contain numerous items of
17
18     information, including but not limited to age, employer, current and previous

19     addresses, phone numbers, email addresses, arrest and conviction records, the
20
       identity of relatives, property records, marriage and divorce records, social media
21
22     accounts, and lawsuit records.

23         25.      The Defendants allow consumers nationwide to request, for a fee, a
24
       background report on virtually any person in the United States. In response to a
25
26     request, the Defendants obtain information from various sources and assemble it

27     into detailed reports they provide to users. These reports contain private, sensitive
28
                               10
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1      and often erroneous data, including but not limited to residential history, birth dates,
2
       criminal records, tax records, DMV records, professional license records, civil
3
       suits, and social media information.
4
5          26.       The Defendants maintain inadequate policy or procedures to insure
6
       they accurately assemble and provide consumer reports in compliance with the
7
8      FCRA, especially in the matter of eliminating expunged, expuncted, or sealed

9      criminal records from their websites and reports.
10
           27.       All of the Defendants’ terms of service pages expressly disclaim any
11
12     and all responsibility for inaccuracies in their respective data bases and reports,

13     including criminal records, by purporting to foist this duty on the government
14
       agencies and third-party data providers who create or provide this information to
15
16     the Defendants.

17         28.       Instead, the Defendants seek to shield their non-compliant reporting
18
       behind a self-serving claim that none of them are consumer reporting agencies, that
19
20     they do not sell consumer reports, and that they are not subject to the FCRA.

21         29.       But what the Defendants really provide is highly sensitive personal,
22
       legal and financial information regarding individuals. The information is the same
23
24     information that is provided in consumer reports by recognized consumer reporting

25     agencies and the information in the Defendants’ reports are compiled using the
26
       same data sources as the major consumer reporting agencies reports.
27
28
                               11
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1          30.      Moreover, the Defendants’ customers are in no way prevented from
2
       using these reports for the same purposes as users of other consumer reports — to
3
       make decisions regarding employment, housing, and credit worthiness, among
4
5      other things. Worse still, Defendants have created a situation where FCRA
6
       violations inevitably occur.
7
8          31.      Confi-Chek, Inc., through Enformion and the other subsidiaries who

9      directly link to Enformion, unabashedly markets its background reports to the very
10
       industries of greatest concern to the FCRA. Enformion’s home page includes as its
11
12     first drop-down menu “Industries” that when clicked includes a who’s who of

13     FCRA governed actors: “Collections, Government, Legal Professionals, Licensed
14
       Investigators, Corporate, Healthcare, Insurance, Law Enforcement, and Real
15
16     Estate.”

17         32.      For the reasons above, and at all times pertinent hereto, the
18
       Defendants were consumer reporting agencies (“CRA”), defined by section
19
20     1681a(f) of the FCRA as follows: “The term “consumer reporting agency” means

21     any person which, for monetary fees, dues, or on a cooperative nonprofit basis,
22
       regularly engages in whole or in part in the practice of assembling or evaluating
23
24     consumer credit information or other information on consumers for the purpose of

25     furnishing consumer reports to third parties, and which uses any means or facility
26
       of interstate commerce for the purpose of preparing or furnishing consumer.”
27
28
                               12
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1          33.      The Defendants obtain distilled and incomplete public record
2
       information, including criminal record history, from third party databases and
3
       courthouses and maintain such data in consumer files that they create and assemble.
4
5      As a CRA, the Defendants are also required to follow reasonable procedures to
6
       assure maximum possible accuracy of the information concerning the individual
7
8      about whom the report relates, per 15 U.S.C. § 1681e(b).

9          34.      The Defendants do not, however, maintain strict procedures designed
10
       to ensure that such information is complete and up to date, nor do they utilize
11
12     reasonable procedures designed to assure maximum possible accuracy. Based upon

13     a common policy and practice, the Defendants regularly and illegally publish and
14
       report criminal records that have been expunged, expuncted or sealed by court
15
16     order.

17         35.      For example, the three named Class Representatives come from a
18
       group of over a dozen Texas clients of a single expungement service alone. In each
19
20     case, Defendants’ published database included expunged or expuncted criminal

21     records many months past the date that Defendants were provided legal notice to
22
       remove the impermissible and inaccurate information. It seems inevitable that there
23
24     will be hundreds if not thousands more whose rights were similarly ignored.

25         36.      The Defendants’ practices not only violate the FCRA as a matter of
26
       law, the practices exact serious consequences on consumer job applicants and
27
28     interstate commerce. Consumers who have attempted to obtain the deletion of
                               13
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1      negative background history are prejudiced in their ability to adequately determine
2
       whether the information is being accurately published or reported.
3
           37.      Despite their duties to maintain strict procedures to assure that
4
5      criminal record information is complete and up to date, and to utilize procedures
6
       designed to assure maximum possible accuracy of the criminal record information
7
8      that they publish and/or sell to the public, the Defendants have nonetheless

9      deliberately, willfully, intentionally, recklessly and negligently adopted a policy
10
       and practice that disregards these duties, in violation of the FCRA.
11
12         38.      Finally, Defendants also fail to provide notice to consumers at the

13     time they sell reports as required by the FCRA. They do not provide consumers
14
       with a disclosure of all the information in their files that pertains to the consumer
15
16     or the sources of this information upon request, as required by the FCRA. They do

17     not provide consumers with a free annual disclosure under the FCRA, which shall
18
       consist of “all information in the consumers file at the time of the request.” Quite
19
20     the opposite is true: Defendants willfully violate the FCRA by making

21     misrepresentations to convince consumers who visit their site or contact them that
22
       they do not sell consumer reports and are not governed or regulated by the FCRA
23
24     as a consumer reporting agency or in any other respect.

25         39.      Defendants seek to avoid their FCRA obligations to gain a
26
       competitive advantage over reputable consumer reporting agencies who go to the
27
28
                               14
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1      time and expense of complying with the law, which directly impacts interstate
2
       commerce.
3
       B.    The Defendants Published Criminal Records Under Texas Law
4
5           40.     Based on the same facts that triggered the FCRA compliance
6
       requirements above, the Defendants also fall squarely within the ambit of Chapter
7
8      109 of the Texas Business and Commerce Code.

9           41.     In Texas, when an order of expunction is final, “the release,
10
       maintenance, dissemination, or use of the expunged records for any purpose is
11
12     prohibited,” and “the person arrested may deny the occurrence of the arrest and the

13     existence of the expunction order.” TEX. CODE CRIM. PROC. art. 55.03.
14
            42.     Chapter 109 of the Texas Business and Commerce Code governs
15
16     business entities that are engaged in publication of certain criminal record

17     information. Tex. Bus. & Comm. Code §§ 109.001–.007. Chapter 109 applies to a
18
       business entity that “publishes” criminal record information and that charges “a fee
19
20     or other consideration to correct or modify criminal record information.” TEX. BUS.

21     & COMM. CODE § 109.002(a)(1).
22
            43.     By posting the information on their websites, the Defendants made
23
24     Plaintiffs’ criminal record information available for inspection by anyone with

25     access to the website; thus, “publishing” such records under Texas law, which
26
       defines “publishing” very broadly, requiring only that a background investigation
27
28     website or company “communicate or make information available to another
                               15
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1      person in writing or by means of telecommunications and includes communicating
2
       information on a computer bulletin board or similar system.” TEX. BUS. & COMM.
3
       CODE § 109.001(4).
4
5          44.       By charging, for example, $29.95 for a single report or $19.95 per
6
       month for a subscription (and these prices vary between the Defendants depending
7
8      on special offers, etc.) — and by making these fees or consideration mandatory for

9      anyone wanting to access their own personal criminal records as part of the
10
       correction or modification process — the Defendants charge “a fee or other
11
12     consideration to correct or modify criminal record information” under Texas law.

13         45.       Moreover, the Defendants’ websites all contain a trap that ironically
14
       also constitutes “other consideration” under the law. Before anyone may pay for
15
16     and create an account with the Defendants to ascertain whether or not their

17     expunged or sealed records are being unlawfully published, they must agree to
18
       waive any right to pursue a trial by jury or class action. Foregoing these valuable
19
20     rights also constitutes a form of consideration in this case.

21         46.       Next, a business entity may not publish criminal records if it has
22
       knowledge or has received notice that an order of expunction has been issued under
23
24     article 55.03 Texas Code of Criminal Procedure. The Defendants received notice

25     of expunction for each Plaintiff from both the Texas Department of Public Safety
26
       and from Plaintiffs themselves.
27
28
                               16
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1             47.       A business entity that publishes information in violation of section
2
          109.005 is liable to the individual who is the subject of the information in an amount
3
          not to exceed $500 for each separate violation, and in the case of a continuing
4
5         violation, an amount not to exceed $500 for each subsequent day on which the
6
          violation occurs. An individual who prevails in an action under section 109.005 is
7
8         also entitled to recover court costs and reasonable attorney’s fees. TEX. BUS. &

9         COMM. CODE § 109.005(d).
10
     C.      The Experience Of Representative Plaintiffs
11
12            48.       The Representative Plaintiffs share nearly identical underlying

13        damages in this case. Much like the vast majority of Americans employ a criminal
14
          defense attorney to handle an expungement, for approximately $500 each, Plaintiffs
15
16        all hired the same online expungement assistance service to expunge certain

17        criminal records related to past offenses qualifying for expungement or sealing
18
          under Texas law. In each case, Plaintiffs — much like anyone nationwide seeking
19
20        to expunge, expunct, or seal criminal records in an American court or tribunal —

21        also paid several hundred dollars in court costs, fees, and related expenses to
22
          successfully expunge or seal their records and received an Expungement Order
23
24        from state court.

25            49.       Similarly, Plaintiffs all paid an additional $100 to personally notify
26
          the universe of background check companies, including Defendants, that they must
27
28        remove the expunged, expuncted or sealed records from their database. In other
                               17
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1      words, all Plaintiffs suffered similar, if not identical, economic damages when the
2
       Defendants both deprived them of the benefit of what they paid to obtain and what
3
       they paid to make sure the Defendants were aware of their duty under law.
4
5          50.      Next, copies of the Plaintiffs’ Expungement Orders were served on
6
       appropriate state agencies and law enforcement offices who promptly removed and
7
8      expunged all records and related files from state-run databases. These expunged

9      Texas criminal charges were eliminated from the Texas Department of Public
10
       Safety database that was provided to bulk purchasers, including the Defendants.
11
12         51.      According to the Texas DPS website, the Defendants have not

13     purchased a new criminal history database since September 6, 2010, although they
14
       continue to pay to receive the monthly files containing all of the expunction and
15
16     nondisclosures granted each month in Texas. By regularly purchasing this database

17     a company can ensure they stay in compliance because the Texas DPS removes all
18
       criminal records that have been sealed or expunged when providing the criminal
19
20     records database. Almost all other background reporting company on the Texas

21     DPS purchaser list bought updated data sets in 2018 and none are anywhere near
22
       eight years out-of-date, like the Defendants.
23
24         52.      Moreover, Texas DPS records show that the Defendants did receive

25     proper notice from Texas DPS that Plaintiffs’ relevant criminal records had been
26
       expunged and requiring the Defendants to cease any and all publication of those
27
28     records.
                               18
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1          53.      Likewise, Plaintiffs, through their expungement assistance service,
2
       provided proper notice to over a hundred commercial background reporting
3
       services, including the Defendants. The online mailing service used on behalf of
4
5      Plaintiffs shows receipt of this notice by one or more of the Defendants.
6
           54.      Despite the repeated efforts of both the Plaintiffs and the State of
7
8      Texas, however, the expunged criminal records for each and every Plaintiff, and

9      approximately a dozen other clients of expungement service, continue to be
10
       published and available to the public on the Defendants’ websites, at least as of the
11
12     filing date for this Original Complaint. Evidence of these violations was gathered

13     independently of the Plaintiffs and other clients by their third-party expungement
14
       service provider who had become concerned that Defendants were simply ignoring
15
16     the legal notices they received. This third-party simply subscribed to the

17     Defendants’ website and reviewed its clients’ published reports for a fee.
18
           55.       As for the removal from public view of the expunged charges from
19
20     state-run databases, any preparer of a background check that maintained strict

21     procedures designed to insure complete and up to date information would have been
22
       aware that it was no longer appropriate to report the expunged charges. Frankly,
23
24     even a preparer using less than strict procedures would have caught these

25     publication and reporting problems, but the Defendants clearly were not and are
26
       not even doing minimal verification or record cleanup.
27
28
                               19
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1          56.       Thus, the Defendants published and possibly reported Plaintiffs’
2
       expunged criminal records long after they had been hidden from public view and
3
       then eliminated from relevant state-run databases. Clearly, the Defendants failed or
4
5      refused to search for updated public record information on Plaintiffs’ expunged
6
       criminal charges or employ other best practices to avoid publication of erroneous
7
8      consumer data.

9          57.       At all times pertinent hereto, the Defendants were acting by and
10
       through their agents, servants and/or employees who were acting within the course
11
12     and scope of their agency or employment, and under the direct supervision and

13     control of the Defendants herein.
14
           58.       At all times pertinent hereto, the conduct of the Defendants, as well
15
16     as that of their agents, servants and/or employees, was intentional, willful, reckless,

17     and in grossly negligent disregard for federal and state laws and the rights of the
18
       Plaintiffs herein. The Defendants knowingly carry out a business practice of
19
20     publishing and reporting criminal record information that is not current or up to

21     date, and without assuring that such information has not been expunged or had its
22
       status changed. There is no reading or interpretation of section 1681e(b) of the
23
24     FCRA, Chapter 109 of the Texas Business and Commerce Code, or any provision

25     for that matter, which would justify, sanction, excuse or condone such a practice.
26
27
28
                               20
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1                                 V.     CLASS ACTION ALLEGATIONS
2
           59.            Plaintiffs bring this action individually and as a class action for the
3
       Defendants’ violations of sections 1681(e)(b) of the FCRA and of Chapter 109 of
4
5      the Texas Business and Commerce Code, pursuant to Rules 23(a) and 23(b) of the
6
       Federal Rules of Civil Procedure, on behalf of the following Classes:
7
8                I. For all Defendants, except Enformion, the class should exclude any

9       person who agreed to any Defendant’s Terms and Conditions, such that they
10
        agreed to arbitrate disputes with the Defendants and/or waived future
11
12      participation in any class action:

13               i) FCRA CLASS: All natural persons residing in the United
14                     States whose expunged, expuncted, or sealed criminal records
15                     were published after the Defendants received notice that they
16                     were so expunged, expuncted or sealed within 2 years of the
17                     filing of this complaint; and,
18               ii) TEXAS BUSINESS and COMMERCE CODE CLASS: All
19                     natural persons who received an expunction from a Texas
20                     court or whose criminal records were sealed by a Texas court
21                     and whose expunged, expuncted, or sealed criminal records
22                     were published after the Defendants received notice that they
23                     were so expunged, expuncted, or sealed within 4 years of the
24                     filing of this complaint.
25
26               II.     For Defendant Enformion, only government or business entities

27      may register on its website, so individual person cannot have agreed to
28
                               21
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1       arbitrate disputes with Enformion and/or waived the right to participate in
2
        the following classes:
3
                 i) FCRA CLASS: All natural persons residing in the United
4
                   States whose expunged, expuncted, or sealed criminal records
5
                   were published after the Defendants received notice that they
6
                   were so expunged, expuncted or sealed within 2 years of the
7
                   filing of this complaint; and,
8
9                ii) TEXAS BUSINESS and COMMERCE CODE CLASS: All

10                 natural persons who received an expunction from a Texas

11                 court or whose criminal records were sealed by a Texas court

12                 and whose expunged, expuncted, or sealed criminal records

13                 were published after the Defendants received notice that they

14                 were so expunged, expuncted, or sealed within 4 years of the

15                 filing of this complaint.

16
           60.        Each Class is so numerous that joinder of all members is
17
18     impracticable. Although the precise number of Class members is known only to the

19     Defendants, Plaintiffs aver upon information and belief that each Class numbers in
20
       the thousands. The Defendants publish and sell standardized criminal history
21
22     record information to thousands of individuals and businesses throughout the

23     country.
24
           61.        There are questions of law and fact common to the Classes that
25
26     predominate over any questions affecting only individual Class members. The

27     principal questions include (a) whether the Defendants, by employing a policy and
28
                               22
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1      practice of publishing and disclosing expunged criminal record histories, willfully
2
       and negligently violated FCRA section 1681e(b) by failing to follow reasonable
3
       procedures to assure maximum possible accuracy of the information concerning the
4
5      individual about whom the report relates; and (b) whether the Defendants violated
6
       Chapter 109 of the Texas Business and Commerce Code for the same reasons.
7
8          62.       Plaintiffs’ claims are typical of the claims of each Class, which all

9      arise from the same operative facts and are based on the same legal theories.
10
           63.       Plaintiffs will fairly and adequately protect the interests of each Class.
11
12     Plaintiffs are committed to vigorously litigating this matter. Plaintiffs have secured

13     counsel experienced in handling consumer class actions. Neither Plaintiffs nor their
14
       counsel have any interests which might cause them not to vigorously pursue this
15
16     claim.

17         64.       This action should be maintained as a class action because the
18
       prosecution of separate actions by individual members of the Classes would create
19
20     a risk of inconsistent or varying adjudications with respect to individual members

21     which would establish incompatible standards of conduct for the parties opposing
22
       the Classes, as well as a risk of adjudications with respect to individual members
23
24     which would as a practical matter be dispositive of the interests of other members

25     not parties to the adjudications or substantially impair or impede their ability to
26
       protect their interests.
27
28
                               23
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1          65.       A class action is a superior method for the fair and efficient
2
       adjudication of this controversy. The interest of Class members in individually
3
       controlling the prosecution of separate claims against Defendant is small as each
4
5      cause of action is subject to a statutory damages cap and there is no reason to award
6
       different amounts per day among the Plaintiffs of those statutory damages that
7
8      accrue daily. Management of the Class claims is likely to present significantly

9      fewer difficulties than those presented in many individual claims. The identities of
10
       the Class members may be obtained from the Defendants’ records.
11
12                                   VI. CAUSES OF ACTION

13         COUNT ONE – FCRA § 1681e(b)
14
           66.       Plaintiffs incorporate the foregoing paragraphs as though the same
15
16     were set forth at length herein.

17         67.      Pursuant to sections 1681n and 1681o, each of the Defendants is liable
18
       for negligently and/or willfully violating the FCRA by failing to follow reasonable
19
20     procedures to assure maximum possible accuracy of the information concerning the

21     individual about whom a consumer report relates, in violation of section 1681e(b).
22
           68.       As a result of Defendants’ conduct Plaintiffs suffered actual damages
23
24     in the form of out of pocket loss in the funds paid to complete the expungement,

25     expunction, or sealing of criminal records process only to have Defendants
26
       continue to report obsolete and impermissible criminal information about them.
27
28
                               24
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1          69.       Plaintiffs seek actual, statutory and punitive damages in addition to
2
       their costs and attorney fees pursuant to 15 U.S.C. §1681n.
3
           COUNT TWO – TEX. BUS. & COM. CODE ANN. §§ 109.001–.007
4
5          70.       Plaintiffs incorporate the foregoing paragraphs as though the same
6
       were set forth at length herein.
7
8          71.      Pursuant to sections 109.001—.007, each of the Defendants are liable

9      for failing to remove Plaintiffs’ expunged criminal records from their websites and
10
       reports after being provided notice.
11
12         72.       The Plaintiffs are entitled to a penalty of up to $500 for each separate

13     violation. Each of the Defendants has engaged, and is engaging, in a continuing
14
       violation, so a separate penalty of up to $500 per violation is owed for each day on
15
16     which the violation occurred TEX. BUS. & COMM. CODE § 109.005(b).

17         73.       The Plaintiffs are entitled to their attorneys’ fees and costs related to
18
       their claim for penalties under Texas Business and Commerce Code Chapter 109.
19
20     TEX. BUS. & COMM. CODE § 109.005(d).

21         COUNT THREE - INJUNCTIVE RELIEF UNDER TEXAS LAW
22
           74.    Plaintiffs incorporate the foregoing paragraphs as though the same were
23
24     set forth at length herein.

25         75.    The Plaintiffs request that the Court enter a temporary and permanent
26
       injunction ordering the Defendants to comply with Texas Business and Commerce
27
28     Code Chapter 109 by (1) immediately removing all information regarding any
                               25
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1      criminal record information related to the Plaintiffs or any class members that has
2
       been expunged by a Texas court from their databases, and (2) not publishing any
3
       criminal record information that has been expunged by a Texas court. TEX. BUS.
4
5      & COMM. CODE § 109.005(c) (“In an action brought under this section, the court
6
       may grant injunctive relief to prevent or restrain a violation of this section.”).
7
8          76.       The Plaintiffs are entitled to their attorneys’ fees and costs related to

9      seeking and obtaining injunctive relief. TEX. BUS. & COMM. CODE § 109.005(d).
10
                                   VII. JURY TRIAL DEMAND
11
12         77.       Plaintiffs demand trial by jury on all issues so triable.

13                                 VIII. PRAYER FOR RELIEF
14
           78.       WHEREFORE, Plaintiffs seek relief against the Defendants as
15
16     follows:

17         (a) That an order be entered certifying the proposed Classes under Rule 23 of
18         the Federal Rules of Civil Procedure and appointing Plaintiffs and their counsel
           to represent the Classes;
19
20         (b) That judgment be entered against the Defendants for statutory damages in
           the amount of not less than $100 and not more than $1,000 per violation per
21         Class member, pursuant to 15 U.S.C. § 1681n(a);
22
           (c) That judgment be entered against the Defendants for punitive damages
23         pursuant to 15 U.S.C. § 1681n(a)(2);
24
           (d) That judgement be entered against the Defendants for statutory damages in
25         the amount of not more than $500 per violation per Class member and, in the
26         case of a continuing violation, an amount not to exceed $500 for each
           subsequent day on which such violation(s) occurred, pursuant to Chapter 109
27         of the Texas Business and Commerce Code;
28
                               26
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1          (e) That the Court enter a temporary injunction, and on final judgment a
           permanent injunction, prohibiting the Defendants from publishing criminal
2
           record information that has been expunged by a Texas court;
3
           (f) That judgment be entered in favor of Plaintiffs for actual damages related to
4
           obtaining the expungement, expunction or sealing of criminal records;
5
           (g) That the Court award costs and reasonable attorney’s fees pursuant to 15
6
           U.S.C. §1681n and §1681o; and
7
           (h) That the Court grant such other and further relief as may be just and proper.
8
9              Dated this 5th day of November, 2018.
10
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12
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